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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 ROBERT BEST AN INDIVIDUAL, ON
 BEHALF OF HIMSELF AND OTHERS
 SIMILARLY SITUATED,
                                                       CASE NO.
                     Plaintiff,

            vs.

 DPS EAST COAST, LLC, and
 DANIAL A. McHENRY,

                     Defendant.
 _______________________________/


         COLLECTIVE ACTION COMPLAINT FOR VIOLATION OF
                THE FAIR LABOR STANDARDS ACT

            Plaintiff, ROBERT BEST (“Plaintiff”), on behalf of himself and all

   others similarly situated, brings this action against Defendants, DPS EAST

   COAST, LLC and DANIAL A. McHENRY (collectively “Defendants”),

   seeking damages for unpaid wages under the Fair Labor Standards Act of 1938

   (“FLSA”), 29 U.S.C. § 201, et seq. and asserts as follows:

                                            INTRODUCTION

            This is an action brought by Plaintiff, individually and as a representative

   for a collective action, against his employer, Defendants, for unpaid overtime

   pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. Plaintiff and
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   the putative class members were not paid overtime premium pay for the hours

   worked over forty (40) per week, even though they were “non-exempt”

   employees, and thus entitled to such wages under federal law.

                                 JURISDICTION AND VENUE

            1.       This is an action for damages that exceeds the minimal

   jurisdictional limits of this Court.

            2.       Venue lies in Duval County, Florida in that all material actions taken

   and events recited occurred in said County.

                                            PARTIES

            3.       Plaintiff brings this action individually and as a collectively for the

   following persons:

            All workers who were employed by Defendants as a contract employee,

            processing chicken, or other similar position, spent all or part of their

            workweek performing tasks typically associated with the job of a

            processing and did not receive the overtime premium pay for all hours

            worked over forty (40) per workweek during the last three years.

            4.       Plaintiff is an adult individual residing in Moorefield, WV.

            5.       Plaintiff was employed by Defendants as a contact supervisor

   during the three-year period preceding the filing of this Complaint and


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   performed work for Defendants in the State of Florida and in this District.

            6.       Plaintiff consents in writing to be a party to this collective action

   pursuant to 29 U.S.C. § 216(b). See Exhibit A.

            7.       Defendant, DPS EAST COAST, LLC (DPS), is a Florida Limited

   Liability Company with its principal address located at 2811 Casa Del Rio,

   Jacksonville, FL 32257.

            8.        DANIAL A. McHENRY is a resident of Duval County, Florida and

   the manager of Defendant DPS.

            9.       During all times material to this complaint, Defendants were

   “employers” within the meaning of Section 3(d) of the FLSA, 29 U.S.C. §

   203(d);

            10.      During all times material to this complaint, Defendants were an

   enterprise within the meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r)

   and an enterprise engaged in commerce or in the production of goods for

   commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. §

   203(s)(1).

            11.      During all times material to this Complaint, Plaintiff and the

   putative class members were “employees” of Defendants within the meaning of

   29 U.S.C. § 203(d).

                                     STATEMENT OF FACTS

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            12.      Defendant DPS provides chicken processing for Pilgrims.

            13.      At all times material herein, Defendants, individually, and

   collectively are an employer and enterprise engaged in interstate commerce and

   are subject to the FLSA.

            14.      Defendant, DPS, at all times material, has annual revenue of at

   least five hundred thousand dollars ($500,000.00) and is subject to the FLSA.

            15.      Defendant, DANIAL A. McHENRY, at all times material, has

   annual revenue of at least five hundred thousand dollars ($500,000.00) and is

   subject to the FLSA.

            16.      Alternatively, Defendants, individually and/or collectively, at all

   times material, have annual revenue of at least five hundred thousand dollars

   ($500,000.00) and are subject to the FLSA.

            17.      During the three (3) years before the date on which this Complaint

   was filed, Plaintiff was employed by Defendants as a contact supervisor or

   chicken processing wherein Plaintiff provided services typically associated

   with a processing chicken to Defendants’ customers.

            18.      Plaintiff worked for Defendants as a technician from

   approximately June 7, 2021 until February 20, 2022.

            19.      Plaintiff worked on commercial and residential accounts as

   Defendants’ employee.

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            20.      At all times material, Plaintiff was Defendants’ “employee” within

   the meaning of the FLSA, 29 U.S.C. § 203(e)(1).

            21.      At all times material, Defendants employed Plaintiff and at least

   one additional supervisor or chicken processing who performed the same or

   similar job as Plaintiff.

            22.      Defendants, individually and collectively, were at all times

   material “employers” of Plaintiff within the meaning of the FLSA, 29 U.S.C. §

   203(d).

            23.      Defendants, individually and collectively, were at all times

   material Plaintiff’s employers and were an enterprise engaged in interstate

   commerce and subject to the FLSA.

            24.      In addition to the above described activity, Defendants, as part of

   their business, would engage in interstate commerce:

                  a. By transacting business with foreign corporations which were part

                     of interstate commerce, purchasing equipment, materials, parts, and

                     supplies from dealers, wholesalers, suppliers, and retailers outside

                     the state of Florida, which were part of interstate commerce;

                  b. By advertising on the World Wide Web and other mediums to

                     potential clients outside the State of Florida; and/or

                  c. By transacting business across state lines, all of which are part of

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                     interstate commerce.

            25.      Furthermore, Defendants obtained, exchanged, and sent/received

   funds to and from areas outside of the State of Florida and to the State of

   Florida, used telephonic transmissions going outside of the State of Florida to

   conduct business, and transmitted electronic information through computers,

   the internet, via email, and otherwise outside of the State of Florida.

            26.      Defendants supervised the operations of the business, including

   hiring and firing employees, determining compensation policies and

   procedures, setting work schedules for the employees, and providing work

   assignments for employees.

            27.      Defendant, DANIAL A. McHENRY, is an owner, director,

   officer, and managing member of Defendant, DPS, who supervised the

   operations of the business, including hiring and firing employees, determining

   compensation policies and procedures, setting work schedules for the

   employees, and providing work assignments for employees.

            28.      Defendants individually and/or collectively supervised the

   operations of the business, including hiring and firing employees, determining

   compensation policies and procedures, setting work schedules for the

   employees, and providing work assignments for employees

            29.      At all times material herein, Defendants individually and

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   collectively, controlled Plaintiff’s, and the opt in Plaintiffs’, day to day

   activities, supervised, and/or had operational control over them, were

   responsible for hiring, had the ability to terminate them, and could set their rate

   of pay/determining if the minimum wage or overtime was to be paid.

            30.      Defendants also controlled Plaintiff’s, and the opt in Plaintiffs’,

   work schedule including the number of days and hours worked, determining

   and assigning work duties, and supervising them.

            31.      Plaintiff, and the opt in Plaintiffs, were covered by the FLSA as

   they utilized the instrumentalities of interstate commerce while performing

   duties for Defendants.

            32.      While employed with Defendants, Plaintiff’s and the opt in

   Plaintiffs’, work duties included, but were not limited to, kept track of

   individuals times, make sure people do the job, and shipping of chicken.

            33.      As part of his work duties for Defendants, Plaintiff, and the opt in

   Plaintiffs, regularly used and/or facilitated interstate commerce, including but

   not limited to ordering supplies, and goods by mail, telephone or fax, and

   receipt of goods ordered from out-of-state suppliers, driving to job locations,

   and processing of credit cards.

            34.      Plaintiff, and the opt in Plaintiffs, were “non-exempt” employees

   of Defendants.

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            35.      Plaintiff, and the opt in Plaintiffs, were hourly employees of

   Defendants and did not earn commission.

            36.      Plaintiff, and the opt in Plaintiffs, worked the number of hours

   required by Defendants but were not properly paid for each and every hour

   worked over forty (40) hours during a work week.

            37.      Defendants suffered and permitted Plaintiff, and the opt in

   Plaintiffs, to work as their employees, but did not pay the appropriate rate for

   all work that Plaintiff, and the opt in Plaintiffs, performed for them.

            38.      Plaintiff, and the opt in Plaintiffs, frequently worked over forty

   (40) hours in a work week for Defendants but were not paid overtime

   compensation at the proper overtime rate by Defendants for each hour that he

   worked over forty (40) hours in a work week.

            39.      Defendants edited Plaintiff’s, and the opt in Plaintiffs’, weekly

   time log and/or edited their total hours worked, to avoid paying Plaintiffs for all

   hours worked and to avoid paying Plaintiffs overtime compensation.

            40.      Defendants were involved in, and responsible for, paying for work

   performed.

            41.      The records concerning the hours worked by Plaintiff, and the opt

   in Plaintiffs, are in the exclusive possession and sole custody and control of

   Defendants. Therefore, Plaintiff is unable to determine and state the exact

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   amount of damages due.

            42.      Defendants are liable to Plaintiff, and the opt in Plaintiffs, under

   the FLSA as employers.

            43.      Defendants’ actions in failing and/or refusing to pay Plaintiff, and

   the opt in Plaintiffs, the applicable overtime compensation, as required by the

   FLSA, were willful and not in good faith.

            44.      Defendants’ actions in failing and/or refusing to pay Plaintiff, and

   the opt in Plaintiffs, proper overtime pay for each and every hour of work over

   40 hours in a work week as required by the FLSA, were willful and not in good

   faith.

            45.      Because of Defendants’ failure/refusal to pay Plaintiff, and the opt

   in Plaintiffs, in accordance with the FLSA, Plaintiff has retained the

   undersigned attorneys to prosecute this cause of action for unpaid overtime

   wages under the FLSA.


            46.      Contact supervisor or chicken processing, including Plaintiff,

   routinely work in excess of forty (40) hours in a workweek. Plaintiff would

   regularly work well in excess of fifty (50) hours in a workweek during the three-

   year period preceding the filing of this Complaint.


                         COLLECTIVE ACTION ALLEGATIONS

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            47.      Plaintiff realleges and incorporates all the paragraphs above as if

   fully set forth herein.

            48.      Plaintiff brings this action on behalf of himself and all workers who

   were and/or are employed by Defendants as a contact supervisor or chicken

   processing (or similar position), and did not receive overtime premium

   compensation/pay for hours worked over forty (40) per workweek during the

   last three years.

            49. This action is maintainable as an “opt-in” collective action pursuant to

 29 U.S.C. § 216(b) as to claims for unpaid wages/overtime compensation,

 liquidated damages, attorney’s fees and costs under the FLSA. In addition to

 Plaintiff, numerous current and former employees are similarly situated with regard

 to their wages and claims for unpaid wages and damages. Plaintiff is representative

 of those other employees and is acting on behalf of their interests, as well as his

 own, in bringing this action.

            50.      These similarly-situated employees are known to Defendants and

   are readily identifiable through Defendants’ business and payroll records. These

   individuals may readily be notified of this action, and allowed to opt in pursuant

   to 29 U.S.C. § 216(b), for the purpose of collectively adjudicating their claims

   for unpaid wages, overtime compensation, liquidated damages, attorneys’ fees

   and costs under the FLSA.

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            51.      Plaintiff estimates that there are over fifty (50) potential opt in

   Plaintiffs who are eligible to join this lawsuit.

                                               COUNT I

    Violation of Fair Labor Standards Act – Overtime (“FLSA”) (Collective
                                   Action)


            52.      Plaintiff realleges and incorporates paragraphs one (1) through

   fifty-six (56) above as if fully set forth herein

            53.      Defendants are employers subjected to the overtime requirements

   set forth in the Fair Labor Standards Act (“FLSA”).

            54.      As employees of Defendants, Plaintiff and the opt in Plaintiffs,

   worked hours in excess of the maximum weekly hours permitted under the FLSA

   but were not properly paid overtime for those excess hours.

            55.      Plaintiff and the putative class members do not qualify for an

   exemption from the wage and overtime obligations imposed by the FLSA.

            56.      Throughout         Plaintiff’s   and   the   putative   class   members’

   employment, Defendants have known that Plaintiff and the putative class

   members were not exempt from the wage and overtime obligations imposed by

   the FLSA. Defendants knew that they were required to pay Plaintiff and the

   putative class members overtime compensation for all hours worked in excess of

   40 hours in a work week. In spite of such knowledge, Defendants willfully
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   withheld and failed to pay the wages and overtime compensation to which

   Plaintiff and the opt in Plaintiffs were entitled.

            57.      Pursuant to the FLSA, Plaintiff, and the opt in Plaintiffs, are entitled

   to compensation for unpaid overtime at a rate of one and one half times their

   regular rate. Because Defendants’ failure to pay such wages was willful pursuant

   to 28 U.S.C. § 255(a), Plaintiff and the putative class members are entitled to

   these wages dating back three years.

            58.      The identity of all the putative class members is unknown at this

   time, but is known to Defendants, and is set forth in Defendants’ records.

   Plaintiff is entitled to review these records and immediately identify the putative

   class members who have a right to join this collective action.

            59.      The     exact      amount   of   compensation,   including    overtime

   compensation that Defendants have failed to pay Plaintiff and the putative class

   members is unknown at this time, as many of the records necessary to make such

   precise calculations are in the possession of Defendants or were not kept by

   them.

            60.      The FLSA requires employers to make, keep, and preserve records

   of the wages, hours, and other conditions and practices of employment, and to

   preserve such records. Plaintiff and those similarly situated to him are entitled to

   review their records of hours worked to determine the exact amount of overtime
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   owed by Defendants. Absent Defendants keeping these records as required by

   law, Plaintiff and the putative class members are entitled to submit their

   information about the number of hours worked.

            61.      Defendants’ failure to pay Plaintiff and the putative class members

   compensation for all hours worked and/or at the lawful overtime rates is not

   based on good faith or reasonable grounds, or a belief that such failure is not in

   violation of FLSA. Pursuant to 20 U.S.C. § 216(b), Plaintiff and the putative

   class members are therefore entitled to liquidated damages in an amount equal

   to the compensation and/or overtime which they have not been paid.

            62.      Plaintiff has been required to file this action as the result of

   Defendants’ actions in failing to pay Plaintiff and the putative class members

   proper compensation. As such, Plaintiff and the putative class members are

   entitled to attorney’s fees and costs incurred pursuant to 28 U.S.C. §216(b).

                                       PRAYER FOR RELIEF
            WHEREFORE, Plaintiff, and all those similarly situated, request

   judgment against Defendants as follows:

            A. Issue an order permitting this litigation to proceed as a collective

   action pursuant to 29 U.S.C. § 216(b);

            B.       Order prompt notice, pursuant to 29 U.S.C. § 216(b), to all potential

   class members that this litigation is pending and that they have the right to “opt

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   in” to this litigation;

            C.       Award Plaintiff and the putative class members their unpaid wages,

   including overtime wages, as to be determined at trial together with any

   liquidated damages allowed by law;

            D.       Find that the Defendants violation of the FLSA was willful;

            E.       Grant judgment against Defendants for all damage, relief, or any

   other recovery whatsoever;

            F.       Award Plaintiff and the putative class members their reasonable

   costs and attorney’s fees necessarily incurred herein; and

            G.       Award Plaintiff and the putative class members such other and

   further relief as the Court deems just and proper.

                                            Respectfully submitted,

                                            /s/ Jeremiah J. Talbott
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                                  DEMAND FOR JURY TRIAL

        Plaintiff demands a trial by jury as to all claims so triable.


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                                            /s/ Jeremiah J. Talbott
                                            JEREMIAH J. TALBOTT, ESQ.




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